        Case 19-40263                         Doc 112            Filed 01/20/20 Entered 01/20/20 08:04:51                                       Desc Main
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Fill in this Information to Identify your case :

Debtor1
                      f l'II   Imo                MW1t N1m1                  LUI N1m1     I
Debtor2
(Spouse, II filing)   F>,n,;;_;
                             Nam,
                               ;;;;--------;.;;;..,;:;;:•:-;:N;::,""::-- -- - - ,L-,•,cN-....- -- - -

United States Bankruptcy Court for the: _ _ _ _ District of             -Mb.__
Case number
(ttknown)
                               19 - ®Tu?:i                                                                                                              Checlt if this is an
                                                                                                                                                        amended fiting



  Official Form 108
 Statement of Intention for Individuals Filing Under Chapter 7                                                                                                    1211s

 If you are an individual filing under chapter 7, you must fill out this form If:
 : creditors have claims secured by your property, or
     you have leased personal property and the lease has not expired.
 You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the IIIN!lng of creditorS,
 whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lesson you flat on the form.
 If two married people are filing together In a Joint case, both are equally responsible for supplying correct ln1ormation.
 Both debtors must sign and date the form.
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write your name and case number (if known).

 -                     Ust Your Creditors Who Have Secured Claims

     1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
        information below.

           Identify the creditor and the property that Is colla1erat                          What do you Intend to do with the property that   Did you claim the property
                                                                                              secures a dabt7                                   as exampt on Schedule C?

          Creditor's            ( , .ln                                                         Surrender the property.
          name:                       ~ ~0-Qc:-
                                \...,\,_\l                                                      Retain the property and redeem   rt.
         ~!::ion of                  59 -1-h\lsicU Mut.                                         Retain the property and enter into a


                                          (){\ cond , AJV\
                                                      ,, L O\14,2                               Reaffinnation Agreement.
         securing debt:                ('
                                                                                          ~etain the property and [explain]:~ ~ ~ ( K




         ;:!ts o\ () t0,1 lJDC,l1nq~bM~ _                                                 t:iturrender the property.
                                                                                                Retain the property and redeem rt.              .mes
          Descnpt,on of
          property
                                     .2()\6   •0 0                                              Retain the property and enter into a
                                                                                                Reaffinnation Agreement.
          securing debt:
                                                                                                Retain the property and [explain]: _ _ __



          Cre<Mor's                                                                            Surrender the property.
          name: _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ __
                                                                                               Retain the property and redeem rt.
          Desaiption of                                                                        Retain the property and enter into a
          property                                                                             Reaffinnation Agreement.
          securing debt:
                                                                                               Retain the property and [explain]: _ _ __



          Cred~or's                                                                            Surrender the property.
          name:                                                                                Retain the property and redeem rt.
          Desaiption of                                                                        Retain the property and enter into a
          property                                                                             Reaffinnation Agreement.
          securing debt:
                                                                                               Retain the property and [explain]: _ _ __



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                9(t{ff)
                f nt Name    Mdclll Nlllll




                 List Your Unexpired P•raon•I Property           Le•"•
  For any unexpired personal property lease that you listed In Schedule G: Executory Con/Jaets and Unexpired L..us (Official Fonn 106G),
  !Iii In the lnfonnatlon below. Do not list real HIiie leases. Unexpired /ease, are lenH that are atlll in effect; the lease period hal not yet
I ended. You may assume an unexpired personal property lease If the trustee doH not assume it 11 U.S.C. I 385(p)(2).
                                                                                                                   Wlltlll-bl-.Ufflld?
      DNcllbl your unexpired personal property le-

     Lessors name:
                                                                                                                      Yes

     Description of leased
     property:


     Lessors name:

     Description of leased
     property:


     Lessors name:
                                                                                                                  D Yes
     Description of leased
     property:


     Lesso(s name:


     Description of leased
     property:


     Lessors name:


    Description of leased
    property:


    Lesso(s name:

    Description of leased
    property:


    Lesso(s name:

    Description of leased
    property:




   Under penalty
   personal      of perjury,
            property         I declaretothat
                     that is subject         I have indicated
                                         an unexpired   lease. mY intentio n about any property of my estate that secures a debt and any



                                                            JC
                                                                 Signature of Debtor 2




                                                                                                                                           ~j
                                                                 Date = - - - - -
                                                                      MM I DO I    YYYY



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